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 9                        UNITED STATES DISTRICT COURT
10                     SOUTHERN DISTRICT OF CALIFORNIA
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12   ANTHONY KROLL,                                      CASE NO. 13-cv-1978-H-NRBB
13                                  Plaintiff,           ORDER GRANTING JOINT
            vs.                                          MOTION TO DISMISS
14
     NORTH AMERICAN RECOVERY,                            [Doc. No. 13]
15
                                 Defendant.
16
17
18         On August 23, 2013, Defendant North American Recovery filed a notice of
19 removal from San Diego Superior Court.              (Doc. No. 1.) Plaintiff’s state court
20 complaint asserted one cause of action for violation of the Fair Credit Reporting Act,
21 15 U.S.C. § 1681. (Doc. No. 1-1, Ex. A, Compl.) On August 30, 2013, Defendant
22 filed its answer. (Doc. No. 2.) On June 10, 2014, Defendant filed a notice of
23 settlement. (Doc. No. 12.) On June 23, 2014, the parties filed a joint motion to dismiss
24 the case with prejudice. (Doc. No. 13.)
25         The Court, for good cause shown, grants the joint motion and dismisses the case
26 with prejudice. Fed. R. Civ. P. 41(a)(2). The Court further orders as follows:
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 1       1.   The parties will bear their own costs, expenses, and attorneys’ fees
 2            associated with the prosecution and defense of this action; and
 3       2.   The Court directs the Clerk to close this case.
 4       IT IS SO ORDERED.
 5 DATED: June 24, 2014
 6                                              ________________________________
                                                MARILYN L. HUFF, District Judge
 7                                              UNITED STATES DISTRICT COURT
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